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IN THE UNITED sTATEs DISTRICT COURT “"*`--~D-C.
FoR THE WESTERN DISTRICT oF TENNESSEE 95 JUN -5 AH g,. 39
EASTERN DIVIsION x y g R w
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RUDOLPH PoWERs, g
l
Plaintiff, §
l
Vs. § No. 04-1248-T/An
l
CORRECTIONS OFFICER SPRINGER, §
ET AL., §
l
Defendants. §

 

ORDER TO COMPLY WITH PLRA
ORDER ASSESSING 3150 FILING FEE
ORDER OF DISMISSAL
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH
AND
NOTICE OF APPELLATE FILING FEE

 

PlaintiffRudolph Powers, Tennessee Department of Correction (“TDOC”) prisoner
number 95360, an inmate at the Northwest Correctional Cornplex (“NWCX”) in Tiptonville,
Tennessee, filed a pro se complaint pursuant to 42 U.S.C. § 1983 on October l, 2004. The
Clerk shall record the defendants as Corrections Ofticer Springer; NWCX Health Care
Administrator Samantha Phillips; Correctional Medical Services (“CMS”); Sergeant Troy
Ferrell; Counselors Terry Dwyer and Mary Pruett; Janice Rice, Who is described as an
Accounting Technician 1; NWCX Warden Tony Parker; TDOC Commissioner Quenton
White, and the TDOC.

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Th\s document
with Rule 58 andlor 79 (a) FRCP on

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I. Assessment of Filing Fee

Under the Prison Litigation Reform Act of 1995 (“PLRA”), 28 U. S.C. § 1915(a)-(b),
all prisoners bringing a civil action must pay the full filing fee required by 28 U.S.C.
§ l9l4(a).l The statute merely provides the prisoner the opportunity to make a
“downpayment” of a partial filing fee and pay the remainder in installments

In this case, the plaintiff has properly completed and submitted an in forma pauperis
affidavit containing a certification by the trust fund officer, Although the plaintiff has not
submitted a trust fund account statement, the information supplied by the plaintiff is
sufficient to permit assessment of the filing fee. Pursuant to 28 U.S.C. § l9lS(b)(l), it is
ORDERED that the plaintiff cooperate fully With prison officials in carrying out this order.
lt is ORDERED that within thirty (30) days of the entry of this order plaintiff file a trust
fund account statement for the six months prior to the commencement of this action. It is
Jnarther ORDERED that the trust fund officer at plaintiffs prison shall calculate a partial
initial filing fee equal to twenty percent (20%) of the greater of the average balance in or
deposits to the plaintiffs trust filnd account for the six months immediately preceding the
completion of the affidavit When the account contains any funds, the trust fund officer
shall collect them and pay them directly to the Clerk of Court. lf the funds in plaintiffs
account are insufficient to pay the full amount of the initial partial filing fee, the prison

official is instructed to withdraw all of the funds in the plaintiff s account and forward them

 

l Because this action was commenced prior to March 7, 2005, the new $250 civil filing fee is

inapplicable

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to the Clerk of Court. On each occasion that funds are subsequently credited to plaintiffs
account the prison official shall immediately withdraw those funds and forward them to the
Clerk of Court, until the initial partial filing fee is paid in full.

lt is further ORDERED that after the initial partial filing fee is fully paid, the trust
fund officer shall Withdraw from the plaintiffs account and pay to the Clerk of this Court
monthly payments equal to twenty percent (20%) of all deposits credited to plaintiffs
account during the preceding month, but only when the amount in the account exceeds
810.00, until the entire $l 50.00 filing fee is paid.

Each time that the trust fund officer makes a payment to the Court as required by this
order, he shall print a copy of the prisoner’s account statement showing all activity in the
account since the last payment under this order and file it with the Clerk along with the
payment All payments and account statements shall be sent to:

Clerk, United States District Court, Western District of Tennessee, 262 U.S.
Courthouse, 111 S. Highland Ave., Jackson, TN 3830l

and shall clearly identify plaintiff s name and the case number on the first page of this order.

The obligation to pay this filing fee shall continue despite the immediate dismissal
of this case. 28 U.S.C. § 1915(e)(2). If plaintiff is transferred to a different prison or
released, he is ORDERED to notify the Court immediately of his change of address If still
confined he shall provide the officials at the new prison with a copy of this order. If the
plaintiff fails to abide by these or any other requirement of this order, the Court may impose

appropriate sanctions, including a monetary fine, without any additional notice or hearing

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by the Court.

The Clerk shall mail a copy of this order to the prison official in charge of prison trust
fund accounts at plaintiffs prison. The Clerk is further ORDERED to forward a copy of
this order to the warden of the NWCX to ensure that the custodian of the plaintiffs inmate
trust account complies with that portion of the PLRA pertaining to the payment of filing
fees. However, the Clerk shall not issue process or serve any papers in this case.

II. Analysis of Plaintiff"s Claims

The plaintiff s complaint is extremely unclear. He first alleges that, on June 1 1 , 2004,
he visited the prison clinic to get a signature verified. Corrections Officer Springer asked
the plaintiff what he wanted, and plaintiff responded that he wanted to see a nurse to find
out who had signed an inmate inquiry so he could put that name in a grievance he was about
to file. Springer returned with a copy of plaintiffs medical records, which indicated that
plaintiff had a walk-in visit for an unspecified problem on January 4, 2004 and was referred
to see a doctor on January 7, 2004. Plaintiff contends that, by obtaining his medical records,
defendant Springer committed various state law torts and the state criminal offense of
aggravated perj ury.

Seeond, plaintiff alleges that defendant Phillips, the NWCX Health Care
Administrator, conspired to cover up Springer’s actions by failing to respond to three inmate
inquiries he submitted When plaintiff sent a fourth inquiry to the warden, Phillips

responded to his third inquiry, but not the first or second inquiries. Plaintiff alleges he filed

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a grievance and, as a result, he learned for the first time that his medical records indicate he
did not show up for a medical appointment on January 7, 2004, When he was attending his
parole hearing. According to the plaintiff, the information he received also indicated that
defendant Springer had given plaintiff information on June 1 l, 2004 that should have been
given out only by a doctor or nurse. Phillips was called as a witness by plaintiff at the June
29, 2004 grievance hearing, at which point she allegedly involved Sergeant Ferrell,
counselor Dwyer and counselor Pruett, the grievance board members, in her conspiracyl
Plaintiff contends he was denied due process at the grievance board hearing and, as a result,
the defendants are guilty of aggravated perjury.

The complaint also alleges that defendant Phillips is guilty of negligence and fraud
because, according to his medical records, the appointment plaintiff missed on January 7,
2004 was rescheduled for January 28, 2004.

The complaint further alleges that, on May 4, 2004, defendant Phillips authorized
defendant Rice, the accounting technician, to remove $5.00 from plaintiffs inmate trust
fund account to pay for glasses that plaintiff should have received Without charge

On July 15, 2004, defendant Parker, the NWCX Warden, allegedly locked down the
institution because of an outbreak of staphylococcus bacteria. The plaintiff became ill after
chemicals were sprayed in his cell and the plaintiff was sent to the clinic. The complaint
also alleges, vaguely, that the visit Was supposed to be nonchargeable and the nurse was told

to have the plaintiff sign a withdrawal form but the nurse refilsed to put a reason for the

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funds to be taken. Defendants Phillips and Rice thereafter removed funds from plaintiffs
account to pay for that visit.

Next, plaintiff alleges that defendants Ferrell, Dwyer, and Pruett, the grievance board
members, are guilty of conspiracy and violated their duty to make uniform decisions with
respect to defendant Springer’s access to confidential information

The complaint further alleges that defendant Rice committed various offenses in
connection with her management of plaintiffs inmate trust fund account First, no interest
has been paid on the plaintiffs funds for the past ten years. Second, defendant Rice is
allegedly “cooking the books” on funds derived from the recycling program. Third,
defendant Rice is allegedly “cooking the books” on funds received in connection with guilty
dispositions on disciplinary infractions Fourth, defendant Rice has engaged in improper
conduct in connection with fees received from inmates for television and cable television
for the past ten years. Fifth, on October 10, 2003, defendant Rice allegedly breached some
contract the plaintiff had made With Sarah L. Craig, who is apparently employed by the
Appellate Court Cost Center. Sixth, on October 10, 2003 , shortly after plaintiff had received
a money order, defendant Rice illegally removed the funds from the plaintiffs account and
sent them to Craig, Who is not a party to this action. Defendant Rice is also allegedly
responsible for the unauthorized withdrawals that were previously described

On September 1, 2004, defendant Phillips allegedly discontinued the plaintiffs

medication for chronic back pain and rheumatoid arthritis, which he had been taking since

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1983. This act was allegedly taken in retaliation for the grievance plaintiff filed against
Phillips and Stringer concerning the violation of his privacy Plaintiff contends he
submitted an official inmate inquiry form to Phillips on September 2, 2004 concerning this
change Plaintiff contends that he received his inquiry form back from Phillips on
September 13, 2004 and she somehow rewrote his question in her own handwriting, which
plaintiff contends is a violation of his rights.

Next, plaintiff sues defendant Parker because he agreed with the proposed response
of a grievance committee on July 1 , 2004 without performing an investigation Plaintiff also
complains that Parker removed fifteen individuals, none of whom is the plaintiff, from an
inmate guild that is designed to represent the inmate population Parker’s action was
allegedly in retaliation for an issue raised by inmates about the propriety of charging for
television services. According to the complaint, these other inmates suffered various
injuries

It is not clear why the plaintiff has sued defendant White, the TDOC Comrnissioner,
as the complaint alleges only that he has the power to initiate investigations, administer
oaths, and compel the production of books and papers.

The complaint also alleges something about unspecified rules and regulations acting
to impede inmates’ access to the courts.

The plaintiff seeks declaratory and injunctive relief, the filing of criminal charges

against the defendants, and monetary damages.

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The Sixth Circuit has held that 42 U.S.C. § 1997e(a) requires a federal court to
dismiss a complaint Without prejudice whenever a prisoner brings a prison conditions claim
without demonstrating that he has exhausted his administrative remedies. Brown v.
_Too_mbs, 139 F.3d 1102 (6th Cir. 1998); s_e§ Porter v. Nussle, 534 U.S. 516, 532 (2002)
(“[T]he PLRA’s exhaustion requirement applies to all inmate suits about prison life, Whether
they involve general circumstances or particular episodes, and whether they allege excessive
force or some other wrong.”); Booth v. Churner, 532 U.S. 73 1 (2001) (prisoner seeking only
money damages must exhaust administrative remedies although damages are unavailable
through grievance system). This requirement places an affirmative burden on prisoners of
pleading particular facts demonstrating the complete exhaustion of claims. Knuckles El v.

Toombs, 215 F.3d 640, 642 (6th Cir. 2000). To comply with the mandates of 42 U.S.C.

 

§ 1997e(a):

a prisoner must plead his claims with specificity and show that they have been
exhausted by attaching a copy of the applicable administrative dispositions to
the complaint or, in the absence of written documentation, describe with
specificity the administrative proceeding and its outcome.

Knuckles El, 215 F.3d at 642; see also Boyd v. Corrections Corp. of Am., 380 F.3d 989,

 

985-96 (6th Cir. 2004) (describing the standard for demonstrating exhaustion when prison
officials fail to respond in a timely manner to a grievance), cert denied, 125 S. Ct. 1639
(2005); Baxter v. Rose, 305 P.3d 486 (6th Cir. 2002) (prisoner who fails to allege
exhaustion adequately may not amend his complaint to avoid a sua sponte dismissal); gm

v. Scott, 249 F.3d 493, 503-04 (6th Cir. 2001) (no abuse of discretion for district court to

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dismiss for failure to exhaust when plaintiffs did not submit documents showing complete
exhaustion of their claims or otherwise demonstrate exhaustion). Furthermore, § l997(e)
requires the prisoner to exhaust his administrative remedies before filing suit and, therefore,
he cannot exhaust these remedies during the pendency of the action. Freeman v. Francis,
196 F.3d 641 , 645 (6th Cir. 1999). Finally, the Sixth Circuit recently held that district courts
are required to dismiss a complaint in its entirety, pursuant to 42 U.S.C. § 1997e(a), that
contains any unexhausted claims J ones Bey v. Johnson, No. 03 -233 1, 2005 WL l 120283,
at *3-*6 (6th Cir. Apr. 27, 2005) (to be published in the Federal Reporter).

In this case, the plaintiff has attached a copy of a grievance (Grievance No. 8460) that
he submitted on or about June 14, 2004 concerning (i) the allegedly unauthorized $5.00
deduction from his account on May 4, 2004; (ii) an allegedly unauthorized withdrawal of
33 .00 on January 7, 2004 for the appointment he missed because of his parole hearing; and
(iii) the allegedly unauthorized charge to his account for eyeglasses The grievance also
mentions defendant Phillips’s failures to respond to previous inmate information inquiries
Defendant Phillips responded to the grievance on June 15, 2004. After a grievance hearing,
defendant Ferrell, the grievance chairman, concurred with the supervisor’ s response on June
29, 2004. Plaintiff appealed to the warden, and defendant Parker agreed with the proposed
response on July 6, 2004. The TDOC Assistant Commissioner for Operations agreed that
the charges were appropriate on July 14, 2004. Accordingly, plaintiff has exhausted his

claim against defendant Phillips concerning the listed charges to his inmate trust fund

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account. Plaintiff has not, however, exhausted his claim against defendant Rice for those
charges Moorer v. Price, 83 Fed. Appx. 770, 772 (6th Cir. Dec. 9, 2003) (plaintiff did not
exhaust claim against warden because his grievance did not identify the warden or articulate
any claim against her); Thomas v. Woolum, 337 F.3d 720, 733-34 (6th Cir. 2003); CLry,
249 F.3d at 504. Moreover, although the grievance mentions defendant Springer, nothing
in the text of the plaintiffs grievance, or the minutes of the hearing held on June 29, 2004,
indicate that the plaintiff exhausted his claim that Springer violated his privacy by obtaining
the information he sought from his medical file.

The plaintiff has not satisfied his burden of demonstrating, through particular
allegations that he exhausted any more of the numerous claims set forth in the complaint
The only other documents submitted by the plaintiff consist of two pages concerning the
withdrawal from the plaintiff s account on October 10, 2003, but those pages do not provide
enough information to ascertain the resolution of that grievance, whether any of the
individual defendants were named, and whether the plaintiff appealed to the warden and to
TDOC.

The Sixth Circuit has stated that “[a] plaintiff who fails to allege exhaustion of
administrative remedies through ‘particularized averments’ does not state a claim on which
relief may be granted, and his complaint must be dismissed sua sponte.” M, 305 F.3d

at 489 .2 Moreover, pursuant to the recent decision in J ones Bey, a district court must dismiss

 

2 As the Sixth Circuit explained, “If the plaintiff has exhausted his administrative remedies, he may
always refile his complaint and plead exhaustion with sufficient detail to meet our heightened pleading requirement

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any complaint that contains unexhausted claims rather than attempting to sever the
exhausted claims Accordingly, the plaintiffs complaint is subject to dismissal, in its
entirety, without prejudice, pursuant to 42 U.S.C. § 1997e(a).
The Court is required to screen prisoner complaints and to dismiss any complaint or
any portion thereof, if the complaint_
(l) is frivolous malicious or fails to state a claim upon which relief
may be granted; or
(2) seeks monetary relief from a defendant who is immune from
such relief.
28 U.S.C. § 1915A(b); sw 28 U.S.C. § 1915(e)(2)(B). Even claims that have not been
exhausted may be dismissed on the merits 42 U.S.C. § l997e(c)(2). Certain aspects of
plaintiffs complaint are subject to dismissal on the merits
As a preliminary matter, plaintiffs complaint fails to comply with Rule 8(a)(2) of the
Federal Rules of Civil Procedure, which provides, in relevant part, that “[a] pleading which
sets forth a claim for relief . . . shall contain . . . a short and plain statement of the claim
showing that the pleader is entitled to relief.” The Sixth Circuit has emphasized that “[a]

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complaint must contain either direct or inferential allegations respecting all the material

elements to sustain a recovery under some viable legal theory.”’ Mitchell v. Communit_v

 

Care Fellowship, 8 Fed. Appx. 512 (6th Cir. May 1, 2001) (emphasis in original; citation
omitted).

The allegations in this complaint wholly fail to satisfy the requirements of Rule

 

assuming that the relevant statute of limitations has not run.” Baxter, 305 F.3d at 489.

 

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8(a)(2). The complaint describes at length the fact that the plaintiff allegedly missed a
medical appointment on January 7, 2004, which was apparently rescheduled for January 28,
2004, but fails to explain how those facts should entitle him to relief against any of the
named defendants The complaint also complains at length about the actions of the
grievance board, but the documents submitted by the plaintiff indicate that the plaintiffs
dispute with Stringer Was not the subject of his grievance hearing The complaint also does
not explain what defendants Ferrell, Dwyer, and Pruett are alleged to have done lt also is
unclear why it is significant that defendant Phillips rewrote the question on the plaintiffs
inmate inquiry form concerning his medication There is no allegation that the plaintiffs
rights were violated by the actions of defendant Parker with respect to the inmate guild or
the actions of defendant Rice other than those that pertain directly to the plaintiffs inmate
trust fund account. Finally, the factual allegations against defendant White are
incomprehensible

The Court ordinarily would order the plaintiff to amend his complaint to comply with
the Federal Rules of Civil Procedure, Such a course is, however, unavailable when a Court
is screening a complaint pursuant to 28 U.S.C. § 1915(e)(2)(B). McGore v. Wrigglesworth,
114 F.3d 601, 612 (6th Cir. 1997). Under these circumstances the appropriate course is to
dismiss the complaint without prejudice to the plaintiffs right to commence a new action
concerning the same subject matter, so long as the new complaint is in compliance with Fed.

R. Civ. P. 8(a)(2) and Within the applicable statute of limitation.

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However, in an attempt to forestall the filing of another meritless complaint the Court
will briefly address the merits of several of the claims raised in the instant complaint First,
plaintiff has no claim against defendant Phillips due to her failure to provide adequate
responses to his grievances or against defendants Ferrell, Dwyer, and Pruett concerning their
conduct of the plaintiffs grievance hearing and their failure to render uniform decisions
Although 42 U.S.C. § 1997e(a) imposes a statutory requirement that prisoners exhaust their
administrative remedies before filing lawsuits, misfeasance or malfeasance by prison
officials in connection with the grievance process is not grounds for an independent cause
of action. E 42 U.S.C. § 1997e(b) (“The failure of a State to adopt or adhere to an
administrative grievance procedure shall not constitute the basis for an action under section
1997a or 1997c of this title.”); see also Shehee v. Luttrell. 199 F.3d 295, 300 (6th Cir. 1999).

Second, defendant Parker cannot be held liable on the basis of his position as the
warden of the NWCX, and defendant White cannot be held liable because of his position
as TDOC Commissioner. There is no respondeat superior liability under § 1983. My
v. Bradley, 729 F.2d 416, 421 (6th Cir. 1984). Instead:

[t]here must be a showing that the supervisor encouraged the specific instance

of misconduct or in some other way directly participated in it. At a minimum,

a § 1983 plaintiff must show that a supervisory official at least implicitly

authorized, approved or knowingly acquiesced in the unconstitutional conduct

of the offending subordinates

I_d. (citation omitted). A supervisory official who is aware of the unconstitutional conduct

of his subordinates yet fails to act generally cannot be held liable in his individual capacity

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Shehee v. Luttrell, 199 F.3d at 300; Lillard v. Shelby Coung; Bd. of Educ., 76 F.3d 716,
727-28 (6th Cir. 1996). In this case, the complaint is devoid of allegations that any
defendant “at least implicitly authorized, approved or knowingly acquiesced in the
unconstitutional conduct of the offending subordinates,” ML 729 F.2d at 421, or that
the allegedly unconstitutional conduct described in the complaint was the direct result of a
defendant’s failure to perform a function he was legally obligated to perform, m
Claiborne Countv. Tennessee. 103 F.3d 495, 511-12 (6th Cir. 1996). Moreover, that
standard is not satisfied by allegations that a defendant mishandled the plaintiff s grievance
or failed to intervene on his behalf M, 199 F.3d at 300. Accordingly, even if it were
assumed that plaintiffs inmate trust fund was mishandled and defendant Phillips retaliated
against the plaintiff for complaining about it, defendants Parker and White would not be
liable

The plaintiff also has no claim based on the allegedly unauthorized deductions from
the plaintiffs inmate trust fund account. Parratt v. Taylor, 451 U.S. 527 (1981), held that
a negligent deprivation of personal property by state officials is not actionable under § 1983
if the state provides an adequate remedy for that deprivation Davidson v. Cannon, 474 U. S.
344 (1986), and Daniels v. Williams, 474 U.S. 329 (1986), held that “the Due Process
Clause [of the Fourteenth Amendment] is simply not implicated by a negligent act of an
official causing unintended loss of or injury to . . . property.” Moreover, Hudson v. Palmer,

468 U.S. 517 (1984), held that even an intentional deprivation of personal property by state

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officials is not actionable under § 1983 if the state provides an adequate remedy for that

deprivation. See also Smith v. Rose, 760 F.2d 102, 106 (6th Cir. 1985); Brooks v. Dutton,

 

751 F.2d 197 (6th Cir. 1985).
The plaintiff has an adequate state remedy because he has the right to pursue remedies

in state court See, e.g., Tenn. Code Ann. § 8-8-302 (1988); see also Jenkins v. Loudon

 

M, 736 S.W.2d 603, 609 (Tenn. 1987); Johnsonv. Smith, 621 S.W.2d 570 (Tenn. App.
1981). Inmates are permitted to bring lawsuits in state court to recover for torts committed
against them. E Whisnant v. Byrd, 525 S.W.2d 152 (Tenn. 1975); Smith v. Peebles, 681
S.W.2d 567, 569 (Tenn. App. 1984); Tenn. Const. art 1, §§ 12, 17. Moreover, Tennessee
has created a claims procedure which provides an adequate remedy for the negligent care
of state prison inmates E Tenn. Code Ann. § 9-8-301 to -308. The Tennessee Claims
Commission has jurisdiction of claims of negligent injury inflicted on state prison inmates
and deprivations of their personal property Tenn. Code Ann. § 9-8-3 07(a)(1)(E) & (F).
Plaintiff thus has an adequate state remedy

Accordingly, the Court DISMISSES the above-mentioned claims with prejudice,
pursuant to 28 U.S.C. § 1915(e)(2)(B)(ii) and § 1915A(b)(1), for failure to state a claim on
which relief may be granted, All remaining claims are DISMISSED without prejudice,
pursuant to 42 U.S.C. § 1997e(a), for failure to exhaust administrative remedies

III. Appeal lssues

The next issue to be addressed is whether plaintiff should be allowed to appeal this

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decision informer pauperis Twenty-eight U.S.C. § 1915(a)(3) provides that an appeal may
not be taken in forma pauperis if the trial court certifies in writing that it is not taken in good
faith. The good faith standard is an objective one Coppedge v. United States, 369 U.S.
43 8, 445 (1962). An appeal is not taken in good faith if the issue presented is frivolous l_d.
Accordingly, it would be inconsistent for a district court to determine that a complaint
should be dismissed prior to service on the defendants, yet has sufficient merit to support an
appeal informer pauperis See Williams v. Kullman 722 F.2d 1048, 1050 n.l (2d Cir.
1983). The same considerations that lead the Court to dismiss this case also compel the
conclusion that an appeal would not be taken in good faith.

lt is therefore CERTIFIED, pursuant to 28 U.S.C. § 1915(a)(3), that any appeal in this
matter by plaintiff is not taken in good faith.

The final matter to be addressed is the assessment of a filing fee if plaintiff appeals
the dismissal of this case.3 In McGore v. Wrigglesworth, 114 F.3d 601, 610-11 (6th Cir.
1997), the Sixth Circuit set out specific procedures for implementing the PLRA. Therefore,
the plaintiff is instructed that if he wishes to take advantage of the installment procedures
for paying the appellate filing fee, he must comply with the procedures set out in M§

and § 1915(b).

 

3 Effective November 1, 2003, the fee for docketing an appeal is $250. _S_e§ Judicial Conference Schedule
of Fees, 11 l, Note following 28 U.S.C. § 1913. Under 28 U.S.C. § 1917, a district court also charges a $5 fee

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For analysis under 28 U.S.C. § 1915(g) of future filings, if any, by this plaintiff`, this
is the second dismissal of one of his cases as frivolous or for failure to state a claim.4

IT is so oRDERED this jay ofJune, 2005.

M.M)>QMK

JAME .ToDD
UNIT sTATEs DisrRichuDGE

 

3 The plaintiff previously filed Powers v. Craig, et al., No. 96-2148-M1/V (W.D. Tenn. dismissed as
frivolous June 28, 1996).

The fact that many of plaintiffs claims have been dismissed for failure to exhaust does not preclude the
imposition of a strike on the basis of claims that were dismissed for failure to state a claim or as frivolous Clemons

v. Young, 240 F. Supp. 2d 639 (E.D. Mich. 2003).

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 1:04-CV-01248 was distributed by fax, mail, or direct printing on
June 6, 2005 to the parties listed.

 

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Honorable .l ames Todd
US DISTRICT COURT

